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                            IN THE UNITED STATES DISTRICT COURT FOR THE
                                       EASTERN DISTRICT OF VIRGINIA

                                                 Richmond Division


         UNITED STATES OF AMERICA

                 V.                                              Criminal No. 3:24-cr-I21-2-RCY


         CORRY ANTOINE WOODY, JR.,

                                A.k.a. “Jr.,

                                      Defendant.



                                               STATEMENT OF FACTS


                 The United States and the defendant, CORRY ANTOINE WOODY, JR., A.K.A. “JR.,

        (hereinafter, “the defendant”), agree that at trial, the United States would have proven the

        following facts beyond a reasonable doubt with admissible and credible evidence:

            1.   On May 8, 2024, in the Eastern District of Virginia and within the jurisdiction of this

        Court, the defendant, did knowingly sell and dispose of a firearm and ammunition, to wit: a

        Ruger, EC9S, 9mm pistol, bearing serial number 45509560, to a person, knowing and having

        reasonable cause to believe that such person had been convicted of a crime punishable by

        imprisonment for a term exceeding one year, in violation of Title 18, United States Code,

        Sections 2 and 922(d)(1). Also on May 8, 2024, in the Eastern District of Virginia and within

        the jurisdiction of this Court, the defendant, did knowingly ship, transport, transfer, cause to be

        transported, and otherwise dispose of a firearm, to wit: a Ruger, EC9S, 9mm pistol, bearing

        serial number 45509560, to another person, in and affecting interstate and foreign commerce,

        knowing and having reasonable cause believe that the use, carrying, or possession of a firearm

        by the recipient would constitute a felony (as defined in section 932(a)), in violation of Title 18,

        United States Code, Sections 933(a)(1) and (b). Finally, on May 8, 2024, in the Eastern District

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of Virginia and within the jurisdiction of this Court, the defendant, did knowingly possess a

machinegun, specifically, a combination of parts, commonly known as a “switch” and/or

“conversion switch,” designed and intended for use in converting a weapon to shoot

automatically more than one shot, without manual reloading, by a single function of the trigger,

in violation of Title 18, United States Code, Section 922(o).

   2.   In March, 2024, the Bureau of Alcohol, Tobacco, Firearms, and Explosives (“ATF”),

initiated a proactive investigation into areas of the City of Richmond, Virginia, plagued by

violence, which included Fairfield, Mosby, and Gilpin Courts. Between March 20, 2024 and

July 30, 2024, ATF conducted numerous controlled purchases of firearms and narcotics, utilizing

professional confidential informants (“CIs”). The controlled purchases and interactions between

the CIs and dealers were captured on electronic surveillance devices.

   3.   On May 6, 2024, a Cl was introduced to the defendant as someone from whom he could

buy firearms, and on that day, the defendant sold the Cl a Smith & Wesson, M&P Shield, 9mm

pistol, bearing serial number JDM9260, for $545.00. During the transaction, the Cl mentioned

that he was “going back up top,” referring to taking the firearms up to New Jersey to resell. The

Cl also mentioned to the defendant that he could not get the guns registered because he was a

convicted felon.


   4.   On May 7, 2024, the defendant sold the Cl a Privately Made Firearm (“PMF”), pf940C,

9mm handgun, which had a machinegun conversion device attached, for $600.00. The defendant

also sold the Cl a metal, machinegun conversion device for $600.00. During the transaction the

defendant acknowledged that he understood what the machinegun conversion device was by

referring to it as a “metal joint,” and a “button,” both of which are common street-terms for the




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devices. He also compared the metal device that he was selling to the 3D-printed switches that

can be privately made.

   5. On May 8, 2024, the defendant sold the Cl a Ruger, EC9S, 9mm, bearing serial number

45509560, for $550.00. The defendant also sold the Cl a metal, machinegun conversion device

for $700.00.


   6.    This statement of facts includes those facts necessary to support the plea of guilty by the

defendant. It does not include each and every fact known to the defendant or to the United States,

and it is not intended to be a full enumeration of all of the facts surrounding the defendant’s case.


    7.   The actions of the defendant, as recounted above, were in all respects knowing and

deliberate, and were not committed by mistake, accident, or other innocent reason.



                                        Respectfully Submitted,

                                        Jessica D. Aber
                                        United States Attorney




                                  By:                                   a
                                        Katherine E. Groover
                                        Special Assistant United States Attorney
                                        Olivia L. Norman
                                        Assistant United States Attorney




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       After consulting with my attorney, I hereby stipulate that the above Statement of Facts is

true and accurate, and that had the matter proceeded to trial, the United States would have proved

the same beyond a reasonable doubt.



                                             Corry Antoine Woody, Jr.,
                                             Defendant



       I am John G. Danyluk, defendant’s attorney. I have carefully reviewed the above

Statement of Facts with him. To my knowledge, his decision to stipulate to these facts is an

informed and voluntary one.



                                             Johff G. Danyluk
                                             Attorney for Defendant




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